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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                      No. 16-569V
                                  Filed: May 31, 2017

* * * * * * * * * * * * * *                          Special Master Sanders
L. NICOLE MOORE,           *
                           *                         Joint Stipulation of Dismissal; Vaccine Rule
           Petitioner,     *                         21(a); No Judgment; Order Concluding
                           *                         Proceedings.
 v.                        *
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
           Respondent.     *
* * * * * * * * * * * * * *

Nancy Meyers, Ward Black Law, Greensboro, NC, for Petitioner.
Ann Martin, United States Department of Justice, Washington, DC, for Respondent.


                         ORDER CONCLUDING PROCEEDINGS1

        On January 5, 2016, L. Nicole Moore (“Petitioner”) filed a petition for compensation under
the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (2012).2
Petitioner alleged that the administration of an influenza vaccine on January 8, 2013 caused her to
develop transverse myelitis (“TM”). Pet. at Preamble, ECF No. 2.



1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42
U.S.C. § 300aa of the Act.
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        On May 31, 2017, Petitioner and Respondent submitted a joint Stipulation of Dismissal.
Stip., ECF No. 41. Accordingly, pursuant to Vaccine Rule 21(a) the above-captioned case is
hereby dismissed without prejudice. The Clerk of the Court is hereby instructed that a judgment
shall not enter in the instant case pursuant to Vaccine Rule 21(a).

       IT IS SO ORDERED.



                                                   /s/Herbrina D. Sanders
                                                   Herbrina D. Sanders
                                                   Special Master




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